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                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                              EL PASO DIVISION

  In re:                                         §               Chapter 7
                                                 §
  THE GATEWAY VENTURES, LLC,                     §
                                                 §               Case No. 21-30071
                                                 §
  DEBTOR                                         §


                OBJECTION TO TRUSTEE’S MOTION TO REJECT LEASE
                     WITH MAIN EVENT ENTERTAINMENT, INC.

                                    [Related Docket No. 499]

           Michael Dixson (“Dixson”), an interested party in the above-captioned bankruptcy

   case (the “Bankruptcy Case”), files this Objection to the Trustee’s Motion to Reject Lease

   with Main Event Entertainment, Inc. [Docket No. 499] (the “Objection”). In support of the

   Objection, Dixon states as follows:

                                          OBJECTION

           1.     Respondent admits paragraphs 1-2 of the Motion;

           2.     Respondent admits that the lease contains the tasks stated but denies

  paragraph 3 of the Motion as to the timing of the required tasks.

           3.     Respondent denies paragraph 4 of the Motion but admits the trustee is not

  capable of personally accomplishing the tasks. However, Respondent pleads that “now” is

  not the proper time to reject the lease. As part of any sale of the property, the purchasing

  party would have the ability to perform the duties required by the Main Event lease or could

  require the trustee reject the lease pursuant to the sale. There is no valid reason to reject the

  lease with Main Event now, which is the anchor tenant for the entire property.

           4.     Respondent denies paragraph 5 of the Motion.

           5.     Respondent denies paragraph 6 of the Motion.
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        6.    Respondent further pleads that rejecting the Main Event lease will likely cause

  irreparable harm to the estate. The property has 4 other tenants that all are expecting to have

  Main Event as a tenant based on Debtor representations. If the Main Event lease is

  terminated, then all the other tenants will likely have grounds to terminate their leases. If

  the Main Event lease is lost, Respondent contends the property will be worth at least 35%

  less. If the remaining tenants are lost, Respondent contends it likely will be worth less than

  50% of its value with all current leases in place.

           7.    Respondent further contends the proper way to obtain the best value for the

  estate, if the Debtor remains in chapter 7, is to auction the property. Then, before closing,

  the buyer can dictate to the estate whether it wants one or more leases rejected. Following

  this process, the estate can avoid the unnecessary catastrophic loss of the tenants and property

  value.

           8.    The tenant leases provide millions of dollars of value to the estate. Rejecting

  the leases at this time deprive the estate of many potential buyers and substantially reduces

  the value of the property. Hence, the Respondent requests the Court sustain its objection.

           WHEREFORE, Michael Dixson, having objected to the Motion, requests that the

  Court sustain his objection, deny the motion, and grant him all relief that the Court deems is

  just and proper.

  Dated: September 24, 2023




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                                      Respectfully Submitted,


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                                              By:    /s/ Ronald J. Smeberg              .
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                                                     DIXSON

                                 CERTIFICATE OF SERVICE


         I hereby certify that on September 24, 2023 true and correct copies of the
  foregoing were served on the service list via the Courts Electronic Noticing System
  or by First Class mail and all parties receiving electronic notices on this case.

                                                     /s/ Ronald J. Smeberg
                                                            Ronald J. Smeberg


                                        SERVICE LIST

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